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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:inrethepeopleofthestateofcoloradovwhittingtonno24sa1502024co65september30,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2024 CO 65&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;In Re The &lt;span class="ldml-name"&gt;People of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Plaintiff&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Ashton Michael Whittington&lt;/span&gt;. &lt;span class="ldml-role"&gt;Defendant&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SA150&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;September 30, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;h2 class="ldml-opinionheading"&gt;&lt;div class="ldml-casehistory"&gt;&lt;span data-paragraph-id="184" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="184" data-sentence-id="197" class="ldml-sentence"&gt;Original Proceeding Pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_197"&gt;&lt;span class="ldml-refname"&gt;C.A.R. 21 Ouray County Court&lt;/span&gt;
&lt;span class="ldml-cite"&gt;Case No. 23CR26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Honorable Sean Kendall Murphy&lt;/span&gt;, Judge&lt;/span&gt;
&lt;/span&gt;&lt;/div&gt;&lt;/h2&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="311" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="311" data-sentence-id="324" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Plaintiff&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Seth Ryan&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;District Attorney&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;Seventh Judicial District&lt;/span&gt; &lt;span class="ldml-entity"&gt;Ryan L. Hess&lt;/span&gt;, &lt;span class="ldml-role"&gt;Deputy District
 Attorney&lt;/span&gt; Montrose, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="465" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="465" data-sentence-id="478" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Defendant&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Megan A. Ring&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt;
&lt;span class="ldml-entity"&gt;Patrick Crane&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt; &lt;span class="ldml-entity"&gt;Cody Seboldt&lt;/span&gt;, Deputy
 &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt; Montrose, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="629" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="629" data-sentence-id="642" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; Ouray County &lt;span class="ldml-entity"&gt;Court&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Philip J.
 Weiser&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt; &lt;span class="ldml-entity"&gt;M. Blake McCracken&lt;/span&gt;, Assistant
 &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_771" data-val="2"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="771" class="ldml-paragraph no-indent mt-2"&gt;
 &lt;span data-paragraph-id="771" data-sentence-id="783" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Joseph
 A. Peters&lt;/span&gt;&lt;/span&gt;, Senior Assistant &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt; Denver, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="853" class="ldml-paragraph "&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="853" data-sentence-id="866" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HART&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, in which
 CHIEF JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MÁRQUEZ&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt;, JUSTICE
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt;, and JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt; joined&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_1017" data-val="3"&gt;&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-value="Rule
 Made Absolute" data-format="title_case_lacks_specifier_italics" data-content-heading-label="
 Rule
 Made Absolute
" data-id="heading_1017" data-parsed="true" id="heading_1017" data-specifier=""&gt;&lt;span data-paragraph-id="1017" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1017" data-sentence-id="1028" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;Rule
 Made Absolute&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;h2 class="ldml-opinionheading content__heading content__heading--depth1" data-content-heading-label="Opinion (HART, MÁRQUEZ, BOATRIGHT, SAMOUR, BERKENKOTTER, HART)"&gt;&lt;span data-paragraph-id="1048" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="1048" data-sentence-id="1061" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;OPINION&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/h2&gt;&lt;p data-paragraph-id="1069" class="ldml-paragraph no-indent mt-4"&gt;
 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="1069" data-sentence-id="1081" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HART&lt;/span&gt;&lt;/span&gt;
 JUSTICE&lt;/span&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1095" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1095" data-sentence-id="1106" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_1106"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In this original proceeding, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; consider whether the &lt;span class="ldml-entity"&gt;Ouray
 County &lt;span class="ldml-entity"&gt;Court&lt;/span&gt;&lt;/span&gt; abused its discretion by partially granting
 &lt;span class="ldml-entity"&gt;Ashton Michael Whittington&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;motion for sanctions&lt;/span&gt; against
 the &lt;span class="ldml-entity"&gt;Seventh Judicial District Attorney&lt;/span&gt;'s Office based on
 violations of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_1106"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, both in Whittington's
 &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; and as an alleged pattern in &lt;span class="ldml-entity"&gt;other cases&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1095" data-sentence-id="1458" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt;
 conclude that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; abused its discretion when it
 excluded evidence as a sanction during the preliminary
 hearing without making any of the requisite findings to
 justify imposing that sanction.&lt;/span&gt; &lt;span data-paragraph-id="1095" data-sentence-id="1662" class="ldml-sentence"&gt;Based on our conclusion, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 need not decide whether the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; had jurisdiction to
 impose the sanction.&lt;/span&gt; &lt;span data-paragraph-id="1095" data-sentence-id="1774" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse the county
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s order imposing sanctions and remand for further
 proceedings.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 I.
Facts and Procedural History
" data-id="heading_1880" data-ordinal_end="1" data-format="upper_case_roman_numeral" data-confidences="very_high" data-ordinal_start="1" data-types="background" data-value="I.
 Facts and Procedural History" data-parsed="true" id="heading_1880" data-specifier="I"&gt;&lt;span data-paragraph-id="1880" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1880" data-sentence-id="1891" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="1880" data-sentence-id="1894" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="1923" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1923" data-sentence-id="1934" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_1934"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; allege that Whittington gave alcohol to a minor
 and was complicit in her sexual assault on &lt;span class="ldml-entity"&gt;May 14, 2023&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="1923" data-sentence-id="2054" class="ldml-sentence"&gt;Whittington first appeared in &lt;span class="ldml-entity"&gt;Ouray County &lt;span class="ldml-entity"&gt;Court&lt;/span&gt;&lt;/span&gt; on &lt;span class="ldml-entity"&gt;December
 22, 2023&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; filed formal charges against him on
 &lt;span class="ldml-entity"&gt;December 27, 2023&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2197" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2197" data-sentence-id="2208" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_2208"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_2208"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had to disclose
 certain types of evidence in their actual or constructive
 possession to defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; within twenty-one days of first
 filing charges against Whittington &lt;span class="ldml-parenthetical"&gt;(here, by &lt;span class="ldml-entity"&gt;January 17,
 2024&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2197" data-sentence-id="2455" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; provided a first set of disclosures on
 &lt;span class="ldml-entity"&gt;December 27, 2023&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2197" data-sentence-id="2525" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_2531" data-val="4"&gt;&lt;/span&gt;
 People&lt;/span&gt; did not provide any additional disclosures within the
 required twenty-one-day window.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2627" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2627" data-sentence-id="2638" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_2638"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 After that window closed, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; provided four additional
 sets of disclosures during February and &lt;span class="ldml-entity"&gt;March 2024&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2627" data-sentence-id="2757" class="ldml-sentence"&gt;While
 some of these subsequent disclosures contained information
 that was not in &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s possession when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; charged
 Whittington, some of that evidence had been in their
 possession before &lt;span class="ldml-entity"&gt;January 17&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2627" data-sentence-id="2967" class="ldml-sentence"&gt;Some of the materials
 disclosed, including in the first set of disclosures,
 included broken links; defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; and &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;
 had a lot of back-and-forth communication about correcting
 these errors.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3179" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3179" data-sentence-id="3190" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_3190"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Whittington's preliminary hearing was originally set for
 &lt;span class="ldml-entity"&gt;March 6, 2024&lt;/span&gt;, but it was continued to the afternoon of &lt;span class="ldml-entity"&gt;March
 13, 2024&lt;/span&gt;, at the request of &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3179" data-sentence-id="3355" class="ldml-sentence"&gt;That morning, &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt; provided their fifth set of disclosures.&lt;/span&gt; &lt;span data-paragraph-id="3179" data-sentence-id="3422" class="ldml-sentence"&gt;Based on &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt;'s failure to comply with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_3422"&gt;&lt;span class="ldml-cite"&gt;Rule 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s mandatory
 disclosure timeline, Whittington filed a &lt;span class="ldml-entity"&gt;motion to dismiss
 &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;&lt;/span&gt; or to &lt;span class="ldml-entity"&gt;impose other sanctions&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3179" data-sentence-id="3588" class="ldml-sentence"&gt;The motion noted that
 some evidence in his case had still not been disclosed, and
 it also pointed to an alleged pattern of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_3588"&gt;&lt;span class="ldml-cite"&gt;Rule 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; violations&lt;/span&gt;
 within the &lt;span class="ldml-entity"&gt;Seventh Judicial District Attorney&lt;/span&gt;'s Office.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3789" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3789" data-sentence-id="3800" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_3800"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 At the hearing, Whittington requested dismissal of the
 charges against him as a punitive sanction against &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3789" data-sentence-id="3924" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; argued that the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s limited
 jurisdiction to hold a preliminary hearing on a felony charge
 did

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_4044" data-val="5"&gt;&lt;/span&gt;
 not allow it to dismiss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3789" data-sentence-id="4080" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; instead
 suggested that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; had jurisdiction to impose other
 sanctions, such as ordering a continuance of the preliminary
 hearing to cure the late production by permitting review of
 the evidence and perhaps excluding late-produced evidence
 from consideration at that hearing.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4377" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4377" data-sentence-id="4388" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_4388"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; considered ordering a continuance so the defense
 would have an opportunity to review the evidence.&lt;/span&gt; &lt;span data-paragraph-id="4377" data-sentence-id="4501" class="ldml-sentence"&gt;Both
 &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; agreed that the preliminary hearing would not be
 completed that day because it had started in the afternoon,
 the discovery dispute took a lot of time, and defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;
 anticipated needing multiple hours to cross-examine witnesses
 during the hearing.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4772" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4772" data-sentence-id="4783" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_4783"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Whittington argued, however, that a continuance would be an
 inappropriate sanction because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had a right to a prompt
 decision as to whether &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had probable cause to
 charge him, particularly on the complicity charge.&lt;/span&gt;
&lt;span data-paragraph-id="4772" data-sentence-id="5015" class="ldml-sentence"&gt;Whittington also argued that the exclusion of evidence would
 be an insufficient sanction, suggesting that the late and
 still undisclosed evidence may have been deliberately
 withheld because it was exculpatory or otherwise mitigating.&lt;/span&gt;
&lt;span data-paragraph-id="4772" data-sentence-id="5252" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; argued that neither a continuance nor exclusion
 would be sufficient to address his allegation that the delay
 in his case was part of a pattern of delay by the &lt;span class="ldml-entity"&gt;Seventh
 Judicial District Attorney&lt;/span&gt;'s Office.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_5471" data-val="6"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="5471" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5471" data-sentence-id="5482" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_5482"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Ultimately, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; reasoned that it lacked sufficient
 evidence to conclude that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s untimely
 disclosures in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; were part of a larger pattern of
 violations across the district.&lt;/span&gt; &lt;span data-paragraph-id="5471" data-sentence-id="5684" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; also rejected
 Whittington's claim that the late and missing disclosures
 in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; specifically were the result of any bad intent.&lt;/span&gt;
&lt;span data-paragraph-id="5471" data-sentence-id="5829" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; noted that &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; had offered explanations
 for each of the missing and late disclosures and that it was
 not willing to infer an intent to deceive when there was
 &lt;span class="ldml-quotation quote"&gt;"an officer of &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[]&lt;/span&gt; here before me and telling
 me that there's a plausible, reasonable
 explanation."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6122" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6122" data-sentence-id="6133" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_6133"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Despite these findings, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; ordered the exclusion of
 all evidence from the preliminary hearing that had been in
 &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s actual or constructive possession and that
 had been disclosed after &lt;span class="ldml-entity"&gt;January 17, 2024&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6122" data-sentence-id="6358" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; did not,
 however, make a record as to why the exclusion of evidence
 from the preliminary hearing was an appropriate curative
 sanction or why a continuance would be insufficient.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="6549" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6549" data-sentence-id="6560" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_6560"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Following &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s order, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; began the
 preliminary hearing but only one witness was called for
 direct examination by &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; before &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 continued the hearing to &lt;span class="ldml-entity"&gt;March 29, 2024&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6549" data-sentence-id="6770" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; entered a
 written order memorializing its exclusion of any
 late-disclosed evidence, again without findings to support
 the exclusion beyond a statement that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he People have
 failed to comply with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_6770"&gt;&lt;span class="ldml-cite"&gt;Rule 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; with respect to certain
 evidence."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="6549" data-sentence-id="7025" class="ldml-sentence"&gt;It did not include any

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_7050" data-val="7"&gt;&lt;/span&gt;
 findings about the reasons for the delayed disclosures, the
 prejudice the delay had caused, or the availability of less
 severe sanctions to cure any prejudice.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7214" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7214" data-sentence-id="7225" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_7225"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; appealed the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s sanction order to
 &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_7225"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 37.1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which permits &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt; to file an interlocutory appeal from county to
 &lt;span class="ldml-entity"&gt;district court&lt;/span&gt; when &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; grants a &lt;span class="ldml-entity"&gt;motion to suppress
 evidence&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7214" data-sentence-id="7475" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; dismissed the appeal, asserting
 that it lacked jurisdiction because &lt;span class="ldml-quotation quote"&gt;"the matter &lt;span class="ldml-parenthetical"&gt;[should
 be]&lt;/span&gt; taken up as an original proceeding pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R.
 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7214" data-sentence-id="7648" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7475" data-reftype="reporter" data-refglobal="case:peoplevwhittington,no24cv30006,at3"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Whittington&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;No. 24CV30006&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(Dist. Ct., Ouray Cnty., &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;May 3, 2024&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7732" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7732" data-sentence-id="7743" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_7743"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; then petitioned &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; granted the petition.&lt;/span&gt;&lt;span data-paragraph-id="7732" data-sentence-id="7837" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN1" class="ldml-noteanchor" id="note-ref-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 II.
Analysis
" data-id="heading_7840" data-ordinal_end="2" data-format="upper_case_roman_numeral" data-confidences="very_high" data-ordinal_start="2" data-types="analysis" data-value="II.
 Analysis" data-parsed="true" id="heading_7840" data-specifier="II"&gt;&lt;span data-paragraph-id="7840" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7840" data-sentence-id="7851" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="7840" data-sentence-id="7855" class="ldml-sentence"&gt;Analysis&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="7864" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7864" data-sentence-id="7875" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_7875"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin by addressing our original jurisdiction to hear this
 matter.&lt;/span&gt; &lt;span data-paragraph-id="7864" data-sentence-id="7950" class="ldml-sentence"&gt;Then, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; detail the relevant standard of review and
 the requirements of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_7950"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7864" data-sentence-id="8036" class="ldml-sentence"&gt;Assuming without deciding
 that county &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; have jurisdiction to exclude evidence in a
 preliminary hearing as a sanction for discovery violations,
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_8197" data-val="8"&gt;&lt;/span&gt;
 that the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; abused its discretion by imposing
 sanctions that exceeded what was reasonably appropriate to
 ensure compliance with the discovery rules, without first
 finding either willful misconduct or a pattern of discovery
 violations by the sanctioned &lt;span class="ldml-entity"&gt;party&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="
 A.
Jurisdiction
" data-id="heading_8472" data-ordinal_end="1" data-format="upper_case_letters" data-confidences="very_high" data-ordinal_start="1" data-types="jurisdiction" data-value="A.
 Jurisdiction" data-parsed="true" id="heading_8472" data-specifier="A"&gt;&lt;span data-paragraph-id="8472" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8472" data-sentence-id="8483" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="8472" data-sentence-id="8486" class="ldml-sentence"&gt;Jurisdiction&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="8499" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8499" data-sentence-id="8510" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_8510"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Whether &lt;span class="ldml-entity"&gt;we&lt;/span&gt; exercise jurisdiction pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is a
 matter wholly within our discretion.&lt;/span&gt; &lt;span data-paragraph-id="8499" data-sentence-id="8613" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8510" data-reftype="reporter" data-refglobal="case:peoplevhernandez,2021co45"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Hernandez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2021 CO 45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_8510"&gt;&lt;span class="ldml-cite"&gt;¶ 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovhernandezcaseno20sa322488p3d1055june7,2021"&gt;&lt;span class="ldml-cite"&gt;488 P.3d 1055, 1060&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="8499" data-sentence-id="8674" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have previously exercised this jurisdiction when &lt;span class="ldml-entity"&gt;a trial
 court&lt;/span&gt; has abused its discretion and the remedy on appeal
 would be inadequate.&lt;/span&gt; &lt;span data-paragraph-id="8499" data-sentence-id="8814" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893769215" data-vids="893769215" class="ldml-reference" data-prop-ids="sentence_8674" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Hoffman v. Brookfield Republic,
 Inc.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;87 P.3d 858, 861&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8499" data-sentence-id="8884" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; do not hesitate
 &lt;span class="ldml-quotation quote"&gt;"to take jurisdiction when a pretrial interlocutory
 ruling significantly interfere&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; with &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;'s ability
 to litigate the merits of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="8499" data-sentence-id="9052" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8884" data-reftype="reporter" data-refglobal="case:peopleofthestateofcoloradovthedistrictcourtofcoloradosseventeenthjudicialdistrictno90sa82793p2d163june18,1990"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Dist.
 Ct.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;793 P.2d 163, 166&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8884" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovleeno00sa25818p3d192february20,2001"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People
 v. Lee&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;18 P.3d 192, 196&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="9162" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9162" data-sentence-id="9173" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_9173"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree with &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; that this matter is
 appropriate for review under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9162" data-sentence-id="9271" class="ldml-sentence"&gt;If the exclusion of
 this evidence is not appropriate, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; will be
 significantly disadvantaged in proving probable cause at the
 preliminary hearing, and there is no appellate remedy that
 can address that disadvantage.&lt;/span&gt; &lt;span data-paragraph-id="9162" data-sentence-id="9499" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; exercise our
 jurisdiction under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_9559" data-val="9"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="
 B.
Standard of Review and Legal Framework
" data-id="heading_9559" data-ordinal_end="2" data-format="upper_case_letters" data-confidences="very_high,very_high" data-ordinal_start="2" data-types="backgroundlaw,standardofreview" data-value="B.
 Standard of Review and Legal Framework" data-parsed="true" id="heading_9559" data-specifier="B"&gt;&lt;span data-paragraph-id="9559" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9559" data-sentence-id="9570" class="ldml-sentence"&gt;B.&lt;/span&gt;
&lt;span data-paragraph-id="9559" data-sentence-id="9573" class="ldml-sentence"&gt;Standard of Review and Legal Framework&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="9612" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9612" data-sentence-id="9623" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_9623"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Choosing an appropriate sanction to address discovery
 violations lies within the sound discretion of &lt;span class="ldml-entity"&gt;the trial
 court&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; will not disturb its decision absent an abuse
 of that discretion.&lt;/span&gt; &lt;span data-paragraph-id="9612" data-sentence-id="9822" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889398020" data-vids="889398020" class="ldml-reference" data-prop-ids="sentence_9623" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Daley&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;97 P.3d 295,
 298&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2004&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9612" data-sentence-id="9875" class="ldml-sentence"&gt;This standard defers to a trial
 judge's decision on account of &lt;span class="ldml-quotation quote"&gt;"the multiplicity of
 considerations involved and the uniqueness of each
 case."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9612" data-sentence-id="10020" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9875" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovleeno00sa25818p3d192february20,2001"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Lee&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;18 P.3d at 196&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9612" data-sentence-id="10041" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A court&lt;/span&gt;'s
 discretion to impose discovery sanctions is not unlimited,
 however.&lt;/span&gt; &lt;span data-paragraph-id="9612" data-sentence-id="10121" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10041" data-reftype="ibid" data-refglobal="case:inrethepeopleofthestateofcoloradovleeno00sa25818p3d192february20,2001"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9612" data-sentence-id="10125" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; imposes discovery
 sanctions, it must exercise its discretion &lt;span class="ldml-quotation quote"&gt;"with due
 regard for the purposes of the discovery rules themselves and
 the manner in which those purposes can be furthered by
 discovery sanctions."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9612" data-sentence-id="10352" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10125" data-reftype="ibid" data-refglobal="case:inrethepeopleofthestateofcoloradovleeno00sa25818p3d192february20,2001"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9612" data-sentence-id="10356" class="ldml-sentence"&gt;Moreover, in previous
 &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;,&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_10386" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="10387" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;e have laid out several factors that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;must&lt;/em&gt;
 consider when fashioning discovery sanctions: &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; the
 reason for and degree of culpability associated with the
 violation; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; the extent of resulting prejudice to the other
 &lt;span class="ldml-entity"&gt;party&lt;/span&gt;; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; any events after the violation that mitigate such
 prejudice; &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; reasonable and less drastic alternatives to
 exclusion; and &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; any other relevant facts."&lt;/span&gt;&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="10786" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="10786" data-sentence-id="10787" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Tippet&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2023 CO 61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d
 547, 555&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888508222" data-vids="888508222" class="ldml-reference" data-reftype="reporter"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;People v. Cobb&lt;/span&gt;,&lt;/em&gt;
&lt;span class="ldml-cite"&gt;962 P.2d 944, 949&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1998&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888740676" data-vids="888740676" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Dunlap&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;975 P.2d 723, 755&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893192504" data-vids="893192504" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Castro&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;854 P.2d 1262, 1265&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11030" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11030" data-sentence-id="11041" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_11041"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_11041"&gt;&lt;span class="ldml-cite"&gt;Colorado Rules of Criminal Procedure&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; require prosecuting
 attorneys to disclose certain discoverable evidence in their
 possession &lt;span class="ldml-quotation quote"&gt;"as soon as practicable,"&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_11207" data-val="10"&gt;&lt;/span&gt;
 but not later than twenty-one days following &lt;span class="ldml-entity"&gt;the
 defendant&lt;/span&gt;'s first appearance at the time of or following
 the filing of charges.&lt;/span&gt; &lt;span data-paragraph-id="11030" data-sentence-id="11340" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_11041"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11030" data-sentence-id="11362" class="ldml-sentence"&gt;Because this
 rule is self-executing, it does not require the defense
 attorney to request the information.&lt;/span&gt; &lt;span data-paragraph-id="11030" data-sentence-id="11470" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11362" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tippet&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_11362"&gt;&lt;span class="ldml-cite"&gt;¶
 33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d at 554&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11030" data-sentence-id="11502" class="ldml-sentence"&gt;If a prosecuting attorney fails to
 comply with this rule, &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may order sanctions that it
 deems &lt;span class="ldml-quotation quote"&gt;"just under the circumstances."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11030" data-sentence-id="11636" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_11502"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 16&lt;span class="ldml-parenthetical"&gt;(III)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11658" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11658" data-sentence-id="11669" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_11669"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Importantly, though, the core purpose of the discovery
 process mandated by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_11669"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is to &lt;span class="ldml-quotation quote"&gt;"advance the
 search for truth."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11658" data-sentence-id="11801" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11669" data-reftype="reporter" data-refglobal="case:peopleofthestateofcoloradovthedistrictcourtofcoloradosseventeenthjudicialdistrictno90sa82793p2d163june18,1990"&gt;&lt;span class="ldml-court"&gt;&lt;em class="ldml-emphasis"&gt;Dist. Ct.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;793 P.2d at 168&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span data-paragraph-id="11658" data-sentence-id="11829" class="ldml-sentence"&gt;For this reason, sanctions under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_11829"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; must generally
 be aimed toward &lt;span class="ldml-quotation quote"&gt;"protecting the integrity of the
 truth-finding process and deterring discovery-related
 misconduct."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11658" data-sentence-id="12008" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11829" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovleeno00sa25818p3d192february20,2001"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Lee&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;18 P.3d at 196&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11658" data-sentence-id="12029" class="ldml-sentence"&gt;These
 sanctions may therefore either be curative or, when there is
 &lt;span class="ldml-quotation quote"&gt;"willful misconduct or a pattern of neglect
 demonstrating a need for modification of &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;'s
 discovery practices,"&lt;/span&gt; be deterrent or punitive.&lt;/span&gt;
&lt;span data-paragraph-id="11658" data-sentence-id="12243" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12029" data-reftype="ibid" data-refglobal="case:inrethepeopleofthestateofcoloradovleeno00sa25818p3d192february20,2001"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 196-97&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12258" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12258" data-sentence-id="12269" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_12269"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Regardless of the type of sanctions imposed &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;trial
 court&lt;/span&gt; must strike a balance by &lt;span class="ldml-quotation quote"&gt;'impos&lt;span class="ldml-parenthetical"&gt;[ing]&lt;/span&gt; the least
 severe sanction that will ensure that there is full
 compliance with &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s discovery orders.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="12258" data-sentence-id="12485" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12269" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tippet&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_12269"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d at 555&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;alteration in
 original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:peopleofthestateofcoloradovthedistrictcourtofcoloradosseventeenthjudicialdistrictno90sa82793p2d163june18,1990"&gt;&lt;span class="ldml-court"&gt;&lt;em class="ldml-emphasis"&gt;Dist. Ct.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;793 P.2d at 168&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="12258" data-sentence-id="12578" class="ldml-sentence"&gt;And
 &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have recently emphasized that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; should generally
 avoid excluding evidence as a sanction because exclusion is a
 drastic remedy that may affect the outcome of the trial,

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_12764" data-val="11"&gt;&lt;/span&gt;
 provide a windfall to &lt;span class="ldml-entity"&gt;the party&lt;/span&gt; against whom the evidence
 would have been offered, or otherwise hinder the search for
 the truth.&lt;/span&gt; &lt;span data-paragraph-id="12258" data-sentence-id="12897" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12897" data-reftype="ibid" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_12897"&gt;&lt;span class="ldml-cite"&gt;¶ 67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12897" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d at 560&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="
 C. The
 County Court Abused Its Discretion by Excluding Evidence as a
 Sanction Without Making the Necessary Findings
" data-id="heading_12927" data-ordinal_end="3" data-format="upper_case_letters" data-ordinal_start="3" data-value="C. The
 County Court Abused Its Discretion by Excluding Evidence as a
 Sanction Without Making the Necessary Findings" data-parsed="true" id="heading_12927" data-specifier="C"&gt;&lt;span data-paragraph-id="12927" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12927" data-sentence-id="12938" class="ldml-sentence"&gt;C.&lt;/span&gt; &lt;span data-paragraph-id="12927" data-sentence-id="12941" class="ldml-sentence"&gt;The
 &lt;span class="ldml-entity"&gt;County &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; Abused Its Discretion&lt;/span&gt; by Excluding Evidence as a
 Sanction Without Making the Necessary Findings&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="13056" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="13056" data-sentence-id="13067" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13067"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-entity"&gt;the present case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; admit that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; untimely
 provided certain evidence to Whittington in violation of
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_13067"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13056" data-sentence-id="13201" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; explained to the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; accepted, that the delay was not intentional, and that
 &lt;span class="ldml-entity"&gt;the prosecutor&lt;/span&gt; was working with Whittington's &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; to
 produce discovery as it became available.&lt;/span&gt; &lt;span data-paragraph-id="13056" data-sentence-id="13408" class="ldml-sentence"&gt;In briefing before
 &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;, the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; asserts that the exclusion of
 all late-disclosed evidence was merely a curative sanction.&lt;/span&gt;
&lt;span data-paragraph-id="13056" data-sentence-id="13548" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; neither explains nor points to any findings to
 support why this sanction was still needed after the
 continuance of the preliminary hearing gave the defense
 additional time to review the late-disclosed evidence.&lt;/span&gt; &lt;span data-paragraph-id="13056" data-sentence-id="13776" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The
 People&lt;/span&gt;, moreover, argue that the exclusion was a deterrent
 sanction that was unsupported by either a finding of willful
 misconduct or of a pattern of noncompliance.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13948" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="13948" data-sentence-id="13959" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_13959"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In general, the exclusion of evidence is considered a severe
 sanction, imposed as punitive or deterrent rather than
 curative.&lt;/span&gt; &lt;span data-paragraph-id="13948" data-sentence-id="14092" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See, e.g.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13959" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovleeno00sa25818p3d192february20,2001"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Lee&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;18 P.3d at
 196-97&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13948" data-sentence-id="14128" class="ldml-sentence"&gt;This is because such a sanction may tend to cut
 against the primary purpose of the discovery rules-to reveal
 the truth.&lt;/span&gt; &lt;span data-paragraph-id="13948" data-sentence-id="14250" class="ldml-sentence"&gt;For this reason, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; require &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to make
 findings in support of this kind of discovery sanction.&lt;/span&gt; &lt;span data-paragraph-id="13948" data-sentence-id="14353" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The
 court&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_14364" data-val="12"&gt;&lt;/span&gt;
 here made no such findings.&lt;/span&gt; &lt;span data-paragraph-id="13948" data-sentence-id="14394" class="ldml-sentence"&gt;To the contrary, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 specifically found no willful misconduct in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; and no
 basis for concluding that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; exhibited a pattern of
 discovery violations.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14567" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14567" data-sentence-id="14578" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_14578"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; only found that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had violated &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_14578"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14567" data-sentence-id="14646" class="ldml-sentence"&gt;That is undisputed.&lt;/span&gt; &lt;span data-paragraph-id="14567" data-sentence-id="14666" class="ldml-sentence"&gt;But the imposition of a serious
 discovery sanction requires more.&lt;/span&gt; &lt;span data-paragraph-id="14567" data-sentence-id="14733" class="ldml-sentence"&gt;A review of our prior
 discovery sanction &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; is instructive to underscore the
 point.&lt;/span&gt; &lt;span data-paragraph-id="14567" data-sentence-id="14822" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have upheld severe &lt;span class="ldml-entity"&gt;trial court&lt;/span&gt; discovery sanctions
 when &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; refused to comply with a specific &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 order.&lt;/span&gt; &lt;span data-paragraph-id="14567" data-sentence-id="14946" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;See, e.g.&lt;/em&gt;&lt;/span&gt;, &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14822" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;Tippet&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_14822"&gt;&lt;span class="ldml-cite"&gt;¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, 6, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_14994" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539
 P.3d at 550-51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that there was no abuse of
 discretion in reducing &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s charges where,
 among other things, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; had violated &lt;span class="ldml-entity"&gt;a court&lt;/span&gt;
 order requiring production of discovery&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/885900313" data-vids="885900313" class="ldml-reference" data-prop-ids="embeddedsentence_15240" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Thurman&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;787 P.2d 646, 655&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1990&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that
 there was no abuse of discretion in dismissing the charges in
 response to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;'s willful refusal to comply
 with &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; &lt;span class="ldml-opinionnote"&gt;order&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14567" data-sentence-id="15398" class="ldml-sentence"&gt;But when there was no evidence that &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt; had violated &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; order or engaged in
 intentional misconduct, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have reversed &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt;'s
 exclusion of evidence.&lt;/span&gt; &lt;span data-paragraph-id="14567" data-sentence-id="15574" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15398" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovleeno00sa25818p3d192february20,2001"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Lee&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;18 P.3d at 198&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14567" data-sentence-id="15595" class="ldml-sentence"&gt;Under
 &lt;span class="ldml-entity"&gt;the circumstances presented&lt;/span&gt; here, and particularly in the
 absence of findings explaining the sanction, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; cannot
 conclude that the exclusion of all late-disclosed evidence
 from the preliminary hearing was within the county
 &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s discretion.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_15849" data-val="13"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15849" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="15849" data-sentence-id="15860" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_15860"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; need not decide whether the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; had jurisdiction
 to impose sanctions under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_15860"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; did
 not make any findings to support a sanction as severe as the
 one it imposed here.&lt;/span&gt; &lt;span data-paragraph-id="15849" data-sentence-id="16070" class="ldml-sentence"&gt;Instead, assuming without deciding that
 jurisdiction was proper, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold that the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s
 exclusion of all late-discovered evidence from the
 preliminary hearing was an abuse of discretion.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="
 III.
Conclusion
" data-id="heading_16269" data-ordinal_end="3" data-format="upper_case_roman_numeral" data-confidences="very_high" data-ordinal_start="3" data-types="conclusion" data-value="III.
 Conclusion" data-parsed="true" id="heading_16269" data-specifier="III"&gt;&lt;span data-paragraph-id="16269" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16269" data-sentence-id="16280" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="16269" data-sentence-id="16285" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="16296" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16296" data-sentence-id="16307" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_16307"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not make the necessary findings to
 impose the severe discovery sanction it imposed here.&lt;/span&gt;
&lt;span data-paragraph-id="16296" data-sentence-id="16423" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; make the rule to show cause absolute, reverse
 the order imposing sanctions, and remand &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for further
 proceedings consistent with this opinion.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_16591" data-val="14"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="16591" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="16591" data-sentence-id="16604" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;joined by JUSTICE &lt;span class="ldml-entity"&gt;HOOD&lt;/span&gt;&lt;/span&gt;, dissenting.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16657" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16657" data-sentence-id="16668" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_16668"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The majority concludes that because the &lt;span class="ldml-entity"&gt;Ouray County &lt;span class="ldml-entity"&gt;Court&lt;/span&gt;&lt;/span&gt;
 did not make sufficient findings to justify the
 &lt;span class="ldml-quotation quote"&gt;"severe"&lt;/span&gt; sanction of the exclusion of certain
 limited evidence from a preliminary hearing, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; abused
 its discretion when it excluded that evidence as a sanction
 for substantial discovery violations that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;
 conceded.&lt;/span&gt; &lt;span data-paragraph-id="16657" data-sentence-id="17017" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_16668"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶ 1, 24-25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17039" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17039" data-sentence-id="17050" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_17050"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; invited the alleged error about which
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; now complain and, in any event, did not preserve their
 argument that the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; lacked the authority to impose
 the sanction that it did; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; conceded their
 discovery violations, and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; crafted a narrow sanction
 to address those violations; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; confirmed
 that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; did not intend to rely on the evidence that &lt;span class="ldml-entity"&gt;the
 court&lt;/span&gt; excluded, thereby belying any assertion that the
 sanction here was &lt;span class="ldml-quotation quote"&gt;"severe"&lt;/span&gt; or that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; will
 be &lt;span class="ldml-quotation quote"&gt;"significantly disadvantaged in proving probable
 cause at the preliminary hearing,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_17050"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;at
 ¶¶ 16, 24-25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, I perceive no abuse of discretion by
 the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17039" data-sentence-id="17753" class="ldml-sentence"&gt;Accordingly, I would discharge our rule to
 show cause.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17809" class="ldml-paragraph no-indent mt-4"&gt;
 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="17809" data-sentence-id="17820" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_17820"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 I therefore respectfully &lt;span class="ldml-opiniontype"&gt;dissent&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="
 I.
Facts and Procedural History
" data-id="heading_17859" data-ordinal_end="1" data-format="upper_case_roman_numeral" data-confidences="very_high" data-ordinal_start="1" data-types="background" data-value="I.
 Facts and Procedural History" data-parsed="true" id="heading_17859" data-specifier="I"&gt;&lt;span data-paragraph-id="17859" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17859" data-sentence-id="17870" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="17859" data-sentence-id="17873" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="17902" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17902" data-sentence-id="17913" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_17913"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The facts pertinent to my analysis are undisputed.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_17969" data-val="15"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17969" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17969" data-sentence-id="17980" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_17980"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 On &lt;span class="ldml-entity"&gt;December 27, 2023&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Ashton Michael Whittington&lt;/span&gt; was charged
 with &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; a class 2 misdemeanor for serving alcohol to a
 person under the age of twenty-one; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; a class 4 felony for
 contributing to the delinquency of a minor; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; a class 3
 felony sexual assault.&lt;/span&gt; &lt;span data-paragraph-id="17969" data-sentence-id="18252" class="ldml-sentence"&gt;These charges arose out of a
 minor's allegations that on &lt;span class="ldml-entity"&gt;May 14, 2023&lt;/span&gt;, Whittington had
 provided her with alcohol at a house &lt;span class="ldml-entity"&gt;party&lt;/span&gt; where &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was
 later sexually assaulted by two of Whittington's friends
 while &lt;span class="ldml-entity"&gt;he&lt;/span&gt; observed.&lt;/span&gt; &lt;span data-paragraph-id="17969" data-sentence-id="18476" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(Whittington's friends are facing
 charges in separate &lt;span class="ldml-entity"&gt;cases&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="17969" data-sentence-id="18539" class="ldml-sentence"&gt;The county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; set a
 preliminary hearing for &lt;span class="ldml-entity"&gt;March 6, 2024&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18602" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="18602" data-sentence-id="18613" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_18613"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_18613"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_18613"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; require, in
 pertinent part, that &lt;span class="ldml-entity"&gt;the people&lt;/span&gt; provide certain discovery
 materials to &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; no later than twenty-one days after
 &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s first appearance at the time of or
 following the filing of charges.&lt;/span&gt; &lt;span data-paragraph-id="18602" data-sentence-id="18879" class="ldml-sentence"&gt;Whittington made his first
 appearance on &lt;span class="ldml-entity"&gt;December 22, 2023&lt;/span&gt;, and in accordance with the
 foregoing rules, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; began producing discovery packets
 to Whittington.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19047" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19047" data-sentence-id="19058" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_19058"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; and Whittington appear to disagree as to when &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt; provided their first discovery packet.&lt;/span&gt; &lt;span data-paragraph-id="19047" data-sentence-id="19170" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt;
 agree, however, that, during a phone call in early &lt;span class="ldml-entity"&gt;February
 2024&lt;/span&gt;, Whittington requested, among other things, a Snapchat
 video recovered from his phone that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had claimed
 supported the charges in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19047" data-sentence-id="19401" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; ultimately
 produced that video to Whittington in late February.&lt;/span&gt; &lt;span data-paragraph-id="19047" data-sentence-id="19477" class="ldml-sentence"&gt;Around
 that same time, Whittington contacted &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_19539" data-val="16"&gt;&lt;/span&gt;
 request body-worn camera videos of law enforcement's
 search of the alleged crime scene.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19630" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19630" data-sentence-id="19641" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_19641"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Shortly thereafter, at &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s request, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 postponed the preliminary hearing until &lt;span class="ldml-entity"&gt;March 13, 2024&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="19758" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19758" data-sentence-id="19769" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_19769"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In the two days before the rescheduled hearing, Whittington
 again contacted &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to request the body-worn camera
 videos of the search of the alleged crime scene.&lt;/span&gt; &lt;span data-paragraph-id="19758" data-sentence-id="19944" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; also
 asked for the data extracted by law enforcement from the
 suspects' and the alleged victim's cell phones.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20059" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="20059" data-sentence-id="20070" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_20070"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In the meantime, on three separate occasions in March, &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt; turned over additional discovery packets, one of which
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; produced the morning of &lt;span class="ldml-entity"&gt;March 13&lt;/span&gt;, the date of the
 continued preliminary hearing.&lt;/span&gt; &lt;span data-paragraph-id="20059" data-sentence-id="20285" class="ldml-sentence"&gt;That discovery packet
 contained eleven videos, including the videos of the crime
 scene search that Whittington had requested multiple times
 and a video of an interview with one of Whittington's
 co-&lt;span class="ldml-entity"&gt;defendants&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20059" data-sentence-id="20498" class="ldml-sentence"&gt;These videos were created between &lt;span class="ldml-entity"&gt;May 14, 2023&lt;/span&gt;
 and &lt;span class="ldml-entity"&gt;August 7, 2023&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20059" data-sentence-id="20566" class="ldml-sentence"&gt;That same morning, an evidence.com link
 became available to Whittington, and this link included seven
 additional videos from the Colorado Bureau of Investigation
 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"CBI"&lt;/span&gt;)&lt;/span&gt; spanning the time frame July to &lt;span class="ldml-entity"&gt;September
 2023&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20788" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="20788" data-sentence-id="20799" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_20799"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Immediately after receiving these untimely disclosures and
 approximately ninety minutes before the beginning of the
 previously continued preliminary hearing, Whittington filed a
 &lt;span class="ldml-entity"&gt;motion to dismiss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;&lt;/span&gt; or to &lt;span class="ldml-entity"&gt;impose sanctions&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_21035" data-val="17"&gt;&lt;/span&gt;
 pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_20799"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;span class="ldml-parenthetical"&gt;(III)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which authorizes &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; to
 impose sanctions for violations of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_20799"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20788" data-sentence-id="21149" class="ldml-sentence"&gt;In support
 of this motion, Whittington cited our &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21149" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People
 v. Tippet&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2023 CO 61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_21149"&gt;&lt;span class="ldml-cite"&gt;¶¶ 64-70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21149" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d 547,
 559-60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, in which &lt;span class="ldml-entity"&gt;we&lt;/span&gt; had concluded that &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt; did
 not abuse its discretion when it reduced a first degree
 murder charge to second degree murder as a sanction for a
 district attorney's office's two-year pattern and
 practice of neglect of its discovery obligations.&lt;/span&gt;
&lt;span data-paragraph-id="20788" data-sentence-id="21545" class="ldml-sentence"&gt;Specifically, Whittington argued that dismissal was
 appropriate because &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; should have disclosed all
 of the discovery by &lt;span class="ldml-entity"&gt;January 13, 2024&lt;/span&gt;, based on
 Whittington's first appearance in &lt;span class="ldml-entity"&gt;court&lt;/span&gt;, or, at the
 latest, by &lt;span class="ldml-entity"&gt;January 17, 2024&lt;/span&gt;, based on Whittington's
 &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s entry of appearance; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; much of the discovery
 material disclosed to him had been turned over after those
 dates, and the phone extractions taken of the suspects and
 the alleged victim still had not been produced; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; the
 record established a pattern of at least neglectful discovery
 behavior by this district attorney's office, as evidenced
 by the findings of thirty-seven prior violations of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_21545"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; by that office in &lt;span class="ldml-entity"&gt;other cases&lt;/span&gt;, which findings Whittington
 listed in his motion.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22321" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="22321" data-sentence-id="22332" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_22332"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; addressed Whittington's motion toward the
 beginning of the preliminary hearing.&lt;/span&gt; &lt;span data-paragraph-id="22321" data-sentence-id="22427" class="ldml-sentence"&gt;There, Whittington
 repeated his request that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; dismiss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; and
 proposed, in the alternative, that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; dismiss at least
 the

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_22574" data-val="18"&gt;&lt;/span&gt;
 class 3 felony charge &lt;span class="ldml-parenthetical"&gt;(the highest degree crime with which
 Whittington had been charged)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="22667" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="22667" data-sentence-id="22678" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_22678"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For their part, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; argued that the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did
 not have the authority to dismiss &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; because the
 concurrent jurisdiction that county &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; have relative to
 &lt;span class="ldml-entity"&gt;district courts&lt;/span&gt; concerns only dispositional hearings.&lt;/span&gt; &lt;span data-paragraph-id="22667" data-sentence-id="22916" class="ldml-sentence"&gt;Thus,
 in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s view&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; was &lt;span class="ldml-quotation quote"&gt;"limited to a
 bound over order."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22667" data-sentence-id="22993" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; recognized, however,
 &lt;span class="ldml-quotation quote"&gt;"There could be sanctions, &lt;em class="ldml-emphasis"&gt;exclude the evidence,
 those type of things&lt;/em&gt; I believe &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; can do for
 prelim &lt;span class="ldml-parenthetical"&gt;[sic]&lt;/span&gt; purposes."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="22667" data-sentence-id="23153" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23171" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23171" data-sentence-id="23182" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_23182"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Turning then to the merits of Whittington's motion, &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt; explained that &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; is &lt;span class="ldml-quotation quote"&gt;"pretty
 massive"&lt;/span&gt; and involves &lt;span class="ldml-quotation quote"&gt;"a lot of information"&lt;/span&gt;;
 &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had experienced delays and technical issues in
 obtaining discovery from the CBI; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had not
 obtained the Snapchat video that Whittington had requested
 until late February; and &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; other discovery that Whittington
 claimed had been disclosed late had been previously turned
 over &lt;span class="ldml-quotation quote"&gt;"in some form or another."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="23669" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="23669" data-sentence-id="23680" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_23680"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Following &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s explanation, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; sought to
 clarify whether it was &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s position that nothing
 had been provided late.&lt;/span&gt; &lt;span data-paragraph-id="23669" data-sentence-id="23825" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; responded, &lt;span class="ldml-quotation quote"&gt;"No. I
 agree that there are some things that are late."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23669" data-sentence-id="23904" class="ldml-sentence"&gt;Then,
 in response to further inquiry from &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;
 acknowledged that the body-worn camera videos of the search
 warrant execution and the phone

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_24065" data-val="19"&gt;&lt;/span&gt;
 extractions were late.&lt;/span&gt; &lt;span data-paragraph-id="23669" data-sentence-id="24090" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; further noted that certain
 files had been produced in a form that could not be accessed.&lt;/span&gt;
&lt;span data-paragraph-id="23669" data-sentence-id="24191" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; remarked, however, that both dismissal of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;
 and exclusion of evidence were &lt;span class="ldml-quotation quote"&gt;"extreme
 consequences."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23669" data-sentence-id="24310" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; also noted that because
 Whittington's motion had been submitted that morning,
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were not prepared to speak to the other thirty-seven
 violations alleged in that motion.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="24489" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="24489" data-sentence-id="24500" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_24500"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Whittington questioned &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s explanation and
 insisted that dismissal was not an extreme remedy, especially
 if &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; dismissed only the class 3 felony charge, which,
 &lt;span class="ldml-entity"&gt;he&lt;/span&gt; explained, was based on a complicity theory that also
 supported the class 4 felony charge.&lt;/span&gt; &lt;span data-paragraph-id="24489" data-sentence-id="24779" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; then repeated
 that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; did not have the authority to dismiss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;
 but stated:&lt;/span&gt;
&lt;/p&gt;&lt;blockquote data-paragraph-id="b_24880" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="24881" class="ldml-sentence"&gt;What I believe &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; can do is &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-entity"&gt;this court&lt;/span&gt; can
 exclude certain evidence that &lt;span class="ldml-parenthetical"&gt;[the]&lt;/span&gt; People can use during a
 preliminary hearing.&lt;/em&gt;&lt;/span&gt; &lt;span data-sentence-id="25015" class="ldml-sentence"&gt;I believe that &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; could
 issue a, &lt;em class="ldml-emphasis"&gt;basically you can't put on evidence&lt;span class="ldml-parenthetical"&gt;[,]&lt;/span&gt;
&lt;span class="ldml-entity"&gt;People&lt;/span&gt;&lt;/em&gt; . . &lt;em class="ldml-emphasis"&gt;.&lt;/em&gt; .&lt;/span&gt; &lt;span data-sentence-id="25111" class="ldml-sentence"&gt;I think &lt;span class="ldml-entity"&gt;THE COURT&lt;/span&gt; could
 potentially craft something to do that.&lt;/span&gt;
&lt;/blockquote&gt;&lt;p data-paragraph-id="25176" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="25176" data-sentence-id="25177" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphases added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="25195" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25195" data-sentence-id="25206" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_25206"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 After considering &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;' arguments, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 issued a narrow exclusion order, finding that because the
 charges were filed on &lt;span class="ldml-entity"&gt;December 27, 2023&lt;/span&gt; and twenty-one days
 after that date would have been &lt;span class="ldml-entity"&gt;January 17, 2024&lt;/span&gt;,
 &lt;span class="ldml-quotation quote"&gt;"anything that was within the . . . constructive custody
 of &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; that was not provided by &lt;span class="ldml-entity"&gt;January 17&lt;/span&gt;th, &lt;span class="ldml-entity"&gt;2024&lt;/span&gt; is
 not eligible for admission for today's preliminary
 hearing."&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_25617" data-val="20"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="25617" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="25617" data-sentence-id="25628" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_25628"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Whittington expressed concern about this ruling, noting that
 merely precluding &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; from using such information
 without further sanction would afford him an insufficient
 remedy for what &lt;span class="ldml-entity"&gt;he&lt;/span&gt; perceived to be, at best, a pattern of
 negligence.&lt;/span&gt; &lt;span data-paragraph-id="25617" data-sentence-id="25883" class="ldml-sentence"&gt;Whittington further noted that &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s
 ruling&lt;/span&gt; was potentially prejudicial to him because it could
 have the effect of precluding the introduction of exculpatory
 evidence that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; may have withheld or untimely
 disclosed.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26117" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26117" data-sentence-id="26128" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_26128"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The court&lt;/span&gt;, however, stood by its previous ruling and ordered
 &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to provide the pending disclosure materials by the
 following Friday.&lt;/span&gt; &lt;span data-paragraph-id="26117" data-sentence-id="26275" class="ldml-sentence"&gt;In so ruling, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; stated, &lt;span class="ldml-quotation quote"&gt;"I
 don't see going any further or, or dismissing charges
 just based on-I have to draw inferences about intent to
 deceive."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26117" data-sentence-id="26433" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; continued, &lt;span class="ldml-quotation quote"&gt;"I understand that
 your &lt;span class="ldml-parenthetical"&gt;[i.e., defense &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt;'s]&lt;/span&gt; argument that there's
 some sort of pattern and it may be malicious, but I just
 don't have the basis to draw that conclusion and
 therefore infer anything beyond setting up those guardrails
 then."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="26704" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="26704" data-sentence-id="26715" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_26715"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; then sought to clarify whether the transcripts of
 the crime scene search, as opposed to the body-worn camera
 videos of that search, were also excluded, even though the
 transcripts had been timely disclosed.&lt;/span&gt; &lt;span data-paragraph-id="26704" data-sentence-id="26940" class="ldml-sentence"&gt;Notably, during the
 ensuing colloquy, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; stated, &lt;span class="ldml-quotation quote"&gt;"I think to
 clarify, I don't have an intent to use anything-Anything
 that &lt;span class="ldml-entity"&gt;we&lt;/span&gt;'ve disclosed late, I haven't had the
 intention

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_27127" data-val="21"&gt;&lt;/span&gt;
 of using . . . in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; for this preliminary
 hearing."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="26704" data-sentence-id="27189" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; ultimately allowed the transcripts
 in question to come into evidence.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27270" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="27270" data-sentence-id="27281" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_27281"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Shortly after that exchange, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; began and, just
 before 5:00 p.m., completed the victim's direct
 examination.&lt;/span&gt; &lt;span data-paragraph-id="27270" data-sentence-id="27405" class="ldml-sentence"&gt;Because of the time, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; continued the
 hearing to &lt;span class="ldml-entity"&gt;March 29&lt;/span&gt;, before Whittington's &lt;span class="ldml-entity"&gt;counsel&lt;/span&gt; began
 his cross-examination of the victim.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="27545" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="27545" data-sentence-id="27556" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_27556"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Before the preliminary hearing recommenced, however, &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt; filed in &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; an interlocutory appeal of
 the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s sanctions ruling.&lt;/span&gt; &lt;span data-paragraph-id="27545" data-sentence-id="27719" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt;
 subsequently dismissed that appeal for lack of jurisdiction,
 and &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; then sought relief from &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; pursuant to
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27545" data-sentence-id="27875" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; issued a rule to show cause.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="
 II.
Analysis
" data-id="heading_27907" data-ordinal_end="2" data-format="upper_case_roman_numeral" data-confidences="very_high" data-ordinal_start="2" data-types="analysis" data-value="II.
 Analysis" data-parsed="true" id="heading_27907" data-specifier="II"&gt;&lt;span data-paragraph-id="27907" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="27907" data-sentence-id="27918" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="27907" data-sentence-id="27922" class="ldml-sentence"&gt;Analysis&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="27931" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="27931" data-sentence-id="27942" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_27942"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 I begin by addressing &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s contention that the
 county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; lacked the authority to order the exclusion of
 evidence in a preliminary hearing, and I conclude that &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt; invited the alleged error about which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; now
 complain and, in any event, did not preserve this contention.&lt;/span&gt;
&lt;span data-paragraph-id="27931" data-sentence-id="28241" class="ldml-sentence"&gt;I then turn to the merits of &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; and explain why I
 believe that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; here did not abuse its discretion
 when, as a sanction for admitted discovery violations, it
 excluded from the preliminary hearing certain evidence that
 &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had failed to disclose on a timely basis.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_28530" data-val="22"&gt;&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth4" data-content-heading-label="
 A.
Authority to Exclude Evidence
" data-id="heading_28530" data-ordinal_end="1" data-format="upper_case_letters" data-ordinal_start="1" data-value="A.
 Authority to Exclude Evidence" data-parsed="true" id="heading_28530" data-specifier="A"&gt;&lt;span data-paragraph-id="28530" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="28530" data-sentence-id="28541" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="28530" data-sentence-id="28544" class="ldml-sentence"&gt;Authority to Exclude Evidence&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="28574" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="28574" data-sentence-id="28585" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_28585"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The majority states that, in light of its ultimate &lt;span class="ldml-entity"&gt;conclusion
 in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;&lt;/span&gt;, it need not decide whether the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; had
 the authority to impose sanctions on &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; for their
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_28585"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; disclosure violations.&lt;/span&gt; &lt;span data-paragraph-id="28574" data-sentence-id="28810" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_28585"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶ 1,
 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28574" data-sentence-id="28830" class="ldml-sentence"&gt;I understand and respect the majority's judicial
 restraint in this regard, but I feel compelled to note that I
 need not even get to such an assumption because, in my view,
 &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; invited the alleged error about which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; now
 complain and, in any event, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; did not preserve the issue.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29125" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29125" data-sentence-id="29136" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_29136"&gt;&lt;span class="ldml-cite"&gt;¶50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Under the invited error doctrine &lt;span class="ldml-quotation quote"&gt;"a &lt;span class="ldml-entity"&gt;party&lt;/span&gt; may not
 complain on appeal of an error that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; has invited or
 injected into &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;; &lt;span class="ldml-entity"&gt;he&lt;/span&gt; must abide by &lt;span class="ldml-parenthetical"&gt;[sic]&lt;/span&gt; the
 consequences of his acts."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="29125" data-sentence-id="29326" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889250595" data-vids="889250595" class="ldml-reference" data-prop-ids="sentence_29136" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Horton v. Suthers&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;43 P.3d 611, 618&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2002&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889862892" data-vids="889862892" class="ldml-reference" data-prop-ids="sentence_29136" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v.
 Zapata&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;779 P.2d 1307, 1309&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1989&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29439" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29439" data-sentence-id="29450" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_29450"&gt;&lt;span class="ldml-cite"&gt;¶51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, as noted above, in their effort to persuade &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;
 that it did not have the authority to dismiss &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt; told &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;, at least twice, that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; could
 order the exclusion of certain evidence from the preliminary
 hearing as a sanction for &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s discovery
 violations.&lt;/span&gt; &lt;span data-paragraph-id="29439" data-sentence-id="29762" class="ldml-sentence"&gt;Having done so, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; may not now challenge
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s decision&lt;/span&gt; to do precisely what &lt;span class="ldml-entity"&gt;they&lt;/span&gt; invited
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; to do.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="29885" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="29885" data-sentence-id="29896" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_29896"&gt;&lt;span class="ldml-cite"&gt;¶52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Even had &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; not invited what &lt;span class="ldml-entity"&gt;they&lt;/span&gt; now claim was
 error, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; did not challenge in the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; that
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s ruling&lt;/span&gt; excluding the evidence, and

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_30059" data-val="23"&gt;&lt;/span&gt;
 therefore, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; failed to preserve this argument for our
 review.&lt;/span&gt; &lt;span data-paragraph-id="29885" data-sentence-id="30127" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895749995" data-vids="895749995" class="ldml-reference" data-prop-ids="embeddedsentence_30182,sentence_29896" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Salazar&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;964 P.2d 502, 507&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1998&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"It is axiomatic that issues not raised in
 or decided by a lower &lt;span class="ldml-entity"&gt;court&lt;/span&gt; will not be addressed for the
 first time on appeal."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30310" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30310" data-sentence-id="30321" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_30321"&gt;&lt;span class="ldml-cite"&gt;¶53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For these reasons, I would conclude that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; are
 barred from challenging the county &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s authority&lt;/span&gt; to
 exclude from the preliminary hearing the evidence disclosed
 in violation of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_30321"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s deadline, and I
 therefore turn to the merits of the issue before &lt;span class="ldml-entity"&gt;us&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth4" data-content-heading-label="
 B. No
 Abuse of Discretion
" data-id="heading_30610" data-ordinal_end="2" data-format="upper_case_letters" data-ordinal_start="2" data-value="B. No
 Abuse of Discretion" data-parsed="true" id="heading_30610" data-specifier="B"&gt;&lt;span data-paragraph-id="30610" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30610" data-sentence-id="30621" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="30610" data-sentence-id="30624" class="ldml-sentence"&gt;No
 Abuse of Discretion&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="30648" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30648" data-sentence-id="30659" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_30659"&gt;&lt;span class="ldml-cite"&gt;¶54
 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; court&lt;/span&gt; abuses its discretion when it imposes discovery
 sanctions that are manifestly arbitrary, unreasonable, or
 unfair.&lt;/span&gt; &lt;span data-paragraph-id="30648" data-sentence-id="30788" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30659" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tippet&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_30659"&gt;&lt;span class="ldml-cite"&gt;¶ 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d at 554&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30648" data-sentence-id="30819" class="ldml-sentence"&gt;This is
 obviously a high bar, and for several reasons, unlike the
 majority, I perceive no abuse of discretion in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="30945" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="30945" data-sentence-id="30956" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_30956"&gt;&lt;span class="ldml-cite"&gt;¶55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 First, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; conceded that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had violated &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_30956"&gt;&lt;span class="ldml-cite"&gt;Crim. P.
 16&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s requirements in a number of respects.&lt;/span&gt;
&lt;span data-paragraph-id="30945" data-sentence-id="31073" class="ldml-sentence"&gt;Specifically, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; acknowledged at the preliminary
 hearing that the footage of the execution of the search
 warrant and the extracted cell phone data were produced late
 &lt;span class="ldml-parenthetical"&gt;(in fact, the extracted cell phone data had not yet been
 turned over to Whittington)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30945" data-sentence-id="31337" class="ldml-sentence"&gt;Accordingly, consideration of a
 sanction was proper, lest &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; allow a wrong to go
 unremedied.&lt;/span&gt; &lt;span data-paragraph-id="30945" data-sentence-id="31439" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_31337"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;span class="ldml-parenthetical"&gt;(III)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31337" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;Tippet&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_31337"&gt;&lt;span class="ldml-cite"&gt;¶ 34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_31501" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d at 554&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Choosing an appropriate

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_31528" data-val="24"&gt;&lt;/span&gt;
 sanction for discovery violations lies within the sound
 discretion of &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; and will not be overturned
 absent an abuse of discretion."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="31679" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="31679" data-sentence-id="31690" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_31690"&gt;&lt;span class="ldml-cite"&gt;¶56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Second, unlike the majority, I believe that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; made
 sufficient findings to justify its discovery sanction.&lt;/span&gt;
&lt;span data-paragraph-id="31679" data-sentence-id="31810" class="ldml-sentence"&gt;Indeed, no &lt;span class="ldml-entity"&gt;party&lt;/span&gt; disputes that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; violated their
 discovery obligations in significant ways, and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; so
 found.&lt;/span&gt; &lt;span data-paragraph-id="31679" data-sentence-id="31936" class="ldml-sentence"&gt;In my view, the finding of undisputed discovery
 violations justified the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; in crafting an
 appropriate sanction.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32061" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="32061" data-sentence-id="32072" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_32072"&gt;&lt;span class="ldml-cite"&gt;¶57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Third, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; imposed an appropriately narrow sanction.&lt;/span&gt; &lt;span data-paragraph-id="32061" data-sentence-id="32136" class="ldml-sentence"&gt;As
 noted above, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; excluded only the material that, prior
 to &lt;span class="ldml-entity"&gt;January 17, 2024&lt;/span&gt;, had been in &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s
 constructive possession and that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had failed to disclose
 by the applicable deadline.&lt;/span&gt; &lt;span data-paragraph-id="32061" data-sentence-id="32340" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; may therefore
 presumably use any material disclosed before &lt;span class="ldml-entity"&gt;January 17, 2024&lt;/span&gt;
 and any material disclosed to Whittington after that date but
 that had not been in their constructive possession by that
 time.&lt;/span&gt; &lt;span data-paragraph-id="32061" data-sentence-id="32558" class="ldml-sentence"&gt;Moreover, the exclusion applied only to the preliminary
 hearing; the order did not address &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s ability
 to present the excluded evidence at trial.&lt;/span&gt; &lt;span data-paragraph-id="32061" data-sentence-id="32715" class="ldml-sentence"&gt;I am hard-pressed
 to see how one could characterize such a carefully crafted
 and thoughtful remedy as manifestly arbitrary, unreasonable,
 or unfair.&lt;/span&gt; &lt;span data-paragraph-id="32061" data-sentence-id="32867" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32715" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tippet&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_32715"&gt;&lt;span class="ldml-cite"&gt;¶ 35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d at 554&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="32898" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="32898" data-sentence-id="32909" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_32909"&gt;&lt;span class="ldml-cite"&gt;¶58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, by their own admission, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; suffered no
 prejudice from &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s sanctions order.&lt;/span&gt; &lt;span data-paragraph-id="32898" data-sentence-id="33015" class="ldml-sentence"&gt;Specifically,
 as noted above, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; conceded that &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_33076" data-val="25"&gt;&lt;/span&gt;
 did not intend to use the excluded material at the
 preliminary hearing.&lt;/span&gt; &lt;span data-paragraph-id="32898" data-sentence-id="33151" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have not shown, nor
 could &lt;span class="ldml-entity"&gt;they&lt;/span&gt; show, how &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s ruling&lt;/span&gt; prejudiced them
 in any way.&lt;/span&gt; &lt;span data-paragraph-id="32898" data-sentence-id="33259" class="ldml-sentence"&gt;Nor have &lt;span class="ldml-entity"&gt;they&lt;/span&gt; shown any windfall to Whittington
 that would have tended to defeat, rather than further, the
 objectives of discovery, which would have militated against
 &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s sanctions ruling.&lt;/span&gt; &lt;span data-paragraph-id="32898" data-sentence-id="33459" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33259" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovleeno00sa25818p3d192february20,2001"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Lee&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;18 P.3d 192, 197&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="33510" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="33510" data-sentence-id="33521" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_33521"&gt;&lt;span class="ldml-cite"&gt;¶59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In reaching this conclusion, I am unpersuaded by the
 majority's determinations that further findings were
 necessary to support what the majority deemed a
 &lt;span class="ldml-quotation quote"&gt;"severe"&lt;/span&gt; sanction and that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; would be
 &lt;span class="ldml-quotation quote"&gt;"significantly disadvantaged in proving probable cause
 at the preliminary hearing."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="33510" data-sentence-id="33816" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified" data-prop-ids="sentence_33521"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶¶ 16,
 24-25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33510" data-sentence-id="33840" class="ldml-sentence"&gt;Given &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s concession that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had no
 intention to introduce at the preliminary hearing the
 evidence that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; excluded, I do not agree that the
 sanction that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; imposed was &lt;span class="ldml-quotation quote"&gt;"severe"&lt;/span&gt; or
 that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; would in any way be disadvantaged at the
 preliminary hearing.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="34130" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="34130" data-sentence-id="34141" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_34141"&gt;&lt;span class="ldml-cite"&gt;¶60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Nor am I persuaded by &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s assertion that our
 &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34141" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tippet&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; precluded the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; from
 excluding the evidence at issue from the preliminary hearing,
 absent a finding of a pattern of willful or negligent
 misconduct.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="34383" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="34383" data-sentence-id="34394" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_34394"&gt;&lt;span class="ldml-cite"&gt;¶61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 In &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34394" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tippet&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_34394"&gt;&lt;span class="ldml-cite"&gt;¶¶ 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, 42-70, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34394" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d at 550,
 556-60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; concluded that &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; did not abuse its
 discretion in reducing a first degree murder charge to second

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_34564" data-val="26"&gt;&lt;/span&gt;
 degree murder when &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; had failed to produce most
 of the discovery at issue on a timely basis; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; repeatedly
 failed to comply with &lt;span class="ldml-entity"&gt;court&lt;/span&gt; orders to produce all &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_34394"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 discovery&lt;/span&gt; by certain dates; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; displayed similar conduct
 on at least twenty prior occasions.&lt;/span&gt; &lt;span data-paragraph-id="34383" data-sentence-id="34851" class="ldml-sentence"&gt;On &lt;span class="ldml-entity"&gt;these facts&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 concluded that reduction of the first degree murder charge
 was an appropriate sanction because &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had found
 a pattern of negligent or willful misconduct and prior
 sanctions had failed.&lt;/span&gt; &lt;span data-paragraph-id="34383" data-sentence-id="35072" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_35072"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_35072"&gt;&lt;span class="ldml-cite"&gt;¶¶ 41-70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35072" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539
 P.3d at 555-60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="35110" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="35110" data-sentence-id="35121" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_35121"&gt;&lt;span class="ldml-cite"&gt;¶62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Notwithstanding &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s assertion to the contrary, I
 do not read &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35121" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tippet&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to preclude the exclusion of
 evidence as a discovery sanction absent a finding of a
 pattern of willful or negligent misconduct.&lt;/span&gt; &lt;span data-paragraph-id="35110" data-sentence-id="35334" class="ldml-sentence"&gt;In
 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35334" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tippet&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_35334"&gt;&lt;span class="ldml-cite"&gt;¶ 36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35334" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d at 555&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; observed that
 &lt;span class="ldml-quotation quote"&gt;"without &lt;span class="ldml-quotation quote"&gt;'willful misconduct or a pattern of neglect
 demonstrating a need for modification of &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;'s
 discovery practices, the rationale for a deterrent sanction
 loses much of its force.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35110" data-sentence-id="35581" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-cert"&gt;Quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35334" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovleeno00sa25818p3d192february20,2001"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Lee&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;18
 P.3d at 196&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="35110" data-sentence-id="35613" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; did not say, however, that a deterrent
 sanction could &lt;em class="ldml-emphasis"&gt;never&lt;/em&gt; be imposed absent a pattern of
 willful or negligent misconduct.&lt;/span&gt; &lt;span data-paragraph-id="35110" data-sentence-id="35742" class="ldml-sentence"&gt;To the contrary, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; went on
 to say that the exclusion or complete dismissal of charges
 &lt;em class="ldml-emphasis"&gt;can&lt;/em&gt; be a proper remedy to ensure compliance with
 discovery orders.&lt;/span&gt; &lt;span data-paragraph-id="35110" data-sentence-id="35899" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35899" data-reftype="ibid" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_35899"&gt;&lt;span class="ldml-cite"&gt;¶ 39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35899" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d at 555&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="35929" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="35929" data-sentence-id="35940" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_35940"&gt;&lt;span class="ldml-cite"&gt;¶63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Here, the record established substantial discovery
 violations, which &lt;span class="ldml-entity"&gt;the people&lt;/span&gt;, in fact, conceded.&lt;/span&gt; &lt;span data-paragraph-id="35929" data-sentence-id="36046" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;these
 circumstances&lt;/span&gt;, I believe that our &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; must be
 empowered to act within their discretion to ensure that
 &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; comply

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_36186" data-val="27"&gt;&lt;/span&gt;
 with discovery rules and orders.&lt;/span&gt; &lt;span data-paragraph-id="35929" data-sentence-id="36221" class="ldml-sentence"&gt;Absent such authority,
 &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; could violate all manner of discovery rules without
 material consequence, as long as &lt;span class="ldml-entity"&gt;they&lt;/span&gt; can marshal a credible
 argument that their conduct was merely negligent and not
 willful.&lt;/span&gt; &lt;span data-paragraph-id="35929" data-sentence-id="36435" class="ldml-sentence"&gt;Such a rule, however, would be directly contrary
 both to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_36435"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;span class="ldml-parenthetical"&gt;(III)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(g)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and to the settled purposes of
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_36435"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, which are to protect the integrity of the
 truth-seeking process while deterring discovery-related
 misconduct.&lt;/span&gt; &lt;span data-paragraph-id="35929" data-sentence-id="36670" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="ibid" data-prop-ids="sentence_36670"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_36670"&gt;&lt;span class="ldml-cite"&gt;¶ 36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36670" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d at 555&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35929" data-sentence-id="36700" class="ldml-sentence"&gt;I
 therefore would not withhold from our &lt;span class="ldml-entity"&gt;trial courts&lt;/span&gt; so
 important &lt;span class="ldml-entity"&gt;a case&lt;/span&gt; management tool as the ability to impose an
 appropriate and narrowly tailored sanction for discovery
 misconduct.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="36890" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="36890" data-sentence-id="36901" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_36901"&gt;&lt;span class="ldml-cite"&gt;¶64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Finally, I am not persuaded by &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s view&lt;/span&gt;, and the
 majority's suggestion, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that a
 continuance would have been a more appropriate sanction here,
 given that a continuance was inevitable anyway.&lt;/span&gt; &lt;span data-paragraph-id="36890" data-sentence-id="37122" class="ldml-sentence"&gt;I disagree
 with this view for several reasons.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="37170" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="37170" data-sentence-id="37181" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_37181"&gt;&lt;span class="ldml-cite"&gt;¶65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 First, neither &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; nor anyone else argued in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;
 that a continuance would be an appropriate sanction.&lt;/span&gt; &lt;span data-paragraph-id="37170" data-sentence-id="37302" class="ldml-sentence"&gt;To the
 contrary, as noted above, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; asserted that exclusion
 of late-disclosed discovery would be an appropriate sanction.&lt;/span&gt;
&lt;span data-paragraph-id="37170" data-sentence-id="37434" class="ldml-sentence"&gt;I perceive no basis for concluding that the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt;
 abused its discretion when it imposed a sanction that &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt; themselves proposed.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_37579" data-val="28"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="37579" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="37579" data-sentence-id="37590" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_37590"&gt;&lt;span class="ldml-cite"&gt;¶66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Second, for the reasons that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; articulated in
 &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37590" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tippet&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_37590"&gt;&lt;span class="ldml-cite"&gt;¶ 65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37590" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;539 P.3d at 559-60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, a continuance
 here would not have served the purpose of either protecting
 the integrity of the truth-seeking process or deterring &lt;span class="ldml-entity"&gt;the
 People&lt;/span&gt;'s discovery-related misconduct.&lt;/span&gt; &lt;span data-paragraph-id="37579" data-sentence-id="37853" class="ldml-sentence"&gt;To the contrary,
 delaying the preliminary hearing for a second time would have
 been prejudicial to Whittington.&lt;/span&gt; &lt;span data-paragraph-id="37579" data-sentence-id="37967" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37853" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;id.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;539 P.3d
 at 559&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37579" data-sentence-id="37994" class="ldml-sentence"&gt;Moreover, for the reasons set forth in
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37994" data-reftype="citeless" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Tippet&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, rewarding &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s discovery
 violations by granting additional delay would have been
 &lt;span class="ldml-quotation quote"&gt;"no deterrent at all."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37579" data-sentence-id="38156" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37994" data-reftype="reporter" data-refglobal="case:inrethepeopleofthestateofcoloradovtippetcaseno23sa111539p3d547,2023co61,2023co61december11,2023"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;539 P.3d at
 560&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="38179" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="38179" data-sentence-id="38190" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_38190"&gt;&lt;span class="ldml-cite"&gt;¶67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Lastly, although &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; assert that in &lt;span class="ldml-entity"&gt;the circumstances
 presented&lt;/span&gt;, a continuance was inevitable, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; overlook the
 fact that a continuance was going to be required solely
 because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had provided substantial untimely disclosures on
 the morning of the preliminary hearing.&lt;/span&gt; &lt;span data-paragraph-id="38179" data-sentence-id="38477" class="ldml-sentence"&gt;Obviously, had the
 materials been disclosed on a timely basis, then no
 continuance would have been necessary, and it strikes me as
 circular to say that a continuance was an appropriate
 sanction, given that a continuance was inevitable, when the
 sole basis for a continuance would have been the very
 discovery misconduct that warranted a sanction in the first
 place.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="
 III.
Conclusion
" data-id="heading_38850" data-ordinal_end="3" data-format="upper_case_roman_numeral" data-confidences="very_high" data-ordinal_start="3" data-types="conclusion" data-value="III.
 Conclusion" data-parsed="true" id="heading_38850" data-specifier="III"&gt;&lt;span data-paragraph-id="38850" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="38850" data-sentence-id="38861" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="38850" data-sentence-id="38866" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="38877" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="38877" data-sentence-id="38888" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_38888"&gt;&lt;span class="ldml-cite"&gt;¶68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 For the foregoing reasons, and mindful of the high bar for
 establishing an abuse of discretion, I would conclude that
 the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; did not abuse its

&lt;span class="ldml-pagenumber" data-page_type="bare_number" data-id="pagenumber_39050" data-val="29"&gt;&lt;/span&gt;
 discretion when it excluded from the preliminary hearing in
 &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; evidence that was in &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s constructive
 possession by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_38888"&gt;&lt;span class="ldml-cite"&gt;Crim. P. 16&lt;span class="ldml-parenthetical"&gt;(I)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;'s deadline but that
 was not disclosed to Whittington until after that deadline.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="39287" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="39287" data-sentence-id="39298" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="section" data-prop-ids="sentence_39298"&gt;&lt;span class="ldml-cite"&gt;¶69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, I would discharge our rule to show cause in &lt;span class="ldml-entity"&gt;this
 case&lt;/span&gt;, and therefore, I respectfully dissent.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="39411" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="39411" data-sentence-id="39412" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="39422" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="39422" data-sentence-id="39423" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN1" class="ldml-notemarker" id="note-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Specifically, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; presented the
 following issues in the petition:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_39500" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="39501" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="39504" class="ldml-sentence"&gt;Did the county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; abuse its discretion when it
 excluded evidence from the preliminary hearing as a punitive
 sanction under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_39504"&gt;&lt;span class="ldml-cite"&gt;Colo. R. Crim. P. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;?&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_39654" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="39655" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-sentence-id="39658" class="ldml-sentence"&gt;Does a county &lt;span class="ldml-entity"&gt;court&lt;/span&gt; have the legal authority to
 sanction under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="rule" data-prop-ids="sentence_39658"&gt;&lt;span class="ldml-cite"&gt;Colo. R. Crim. 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;?&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;p data-paragraph-id="39741" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="39741" data-sentence-id="39742" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;